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AO 91 (Rev, 11/11) Criminal Complaint

 

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

United States of America )
v. )
LOREN DAVID READ J Gage No, |
) 6:21-mj- /. Ge b
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 24-26, 2021 in the county of Seminole in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2422(b) Attempted enticement of a minor.

This criminal complaint is based on these facts:

See attached affidavit.

% Continued on the attached sheet.

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C omplainanPssi ignature

Printed name and tiile

Sworn to before me and signed in my presence.
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Date: foe: Zt, 2OZ\ { vy a bas

Judge's signature

 

 

City and state: Orlando, Florida THOMAS B. SMITH, U.S. Magistrate Judge

Printed name and title
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STATE OF FLORIDA CASE NO. 6:21-mj- /5Z y
COUNTY OF ORANGE

AFFIDAVIT
I, Kevin Kaufman, Special Agent, Federal Bureau of Investigation (FBI), after

being duly sworn, depose and state the following:

INTRODUCTION

1. I am a Special Agent with the FBI and have been so employed for
approximately 16 years. I am currently assigned to the Violent Crimes Against
Children Task Force of the Orlando, Florida office of the FBI, and participate in the
investigations of sex crimes, child exploitation, child pornography and computer
crimes. I have been involved in investigations involving child pornography and online
solicitation/enticement of a minor. I have participated in investigations of persons
suspected of violating federal child pornography laws, including Title 18, United States
Code, Sections 2252 and 2252A. I have also participated in investigations of persons
suspected of violating federal laws pertaining to the enticement of minors under Title
18, United States Code, Section 2422(b). I have participated in various training
courses for the investigation and enforcement of federal child pornography laws in
which computers are used as the means for receiving, transmitting, and storing child
pornography. Additionally, I have been involved in authoring and participated in the
execution of search warrants involving searches and seizures of computers, computer

equipment, software and electronically stored information.
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2. I make this affidavit based upon personal knowledge derived from my
participation in this investigation; information that I have learned from discussions
with other FBI Special Agents and other law enforcement officers; and my review of
evidence recovered in this investigation. Because this affidavit is being submitted for
the limited purpose of establishing probable cause for the issuance of a criminal
complaint for LOREN DAVID READ, I have not set forth each and every fact I
learned as a result of this investigation. Rather, I have set forth only those facts I
believe are necessary to establish probable cause that a violation of federal law has
been committed. Unless otherwise noted, all statements of other persons described
herein are set forth in substance and in part, rather than verbatim.

3. This affidavit is submitted in support of a criminal complaint against
READ for a violation of Title 18, United States Code, Section 2422(b). As set forth
in more detail below, I believe there is probable cause that READ, using a facility and
means of interstate commerce, that is, the Internet, did knowingly attempt to persuade,
induce, and entice an individual who had not attained the age of 18 years to engage in
prostitution or any sexual activity for which any person could be charged with a
criminal offense under Florida law, that is, Sexual Battery, a violation of Florida
Statute Section 794.011; all in violation of Title 18, United States Code, Section
2422(b).

4. I make this affidavit from personal knowledge based on my participation
in this investigation, information from other criminal investigators, information from

enforcement officers, information from agency reports, and review of documents
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provided to me by these witnesses and enforcement officers. Because this affidavit is
being submitted for the limited purpose of establishing probable cause in support of a
criminal complaint, I have not set forth each and every fact learned during the course
of this investigation.

5. Title 18, United States Code, Section 2422(b) prohibits a person from
using a means or facility of interstate commerce to knowingly attempt to persuade,
induce, and entice an individual who had not attained the age of 18 years to engage in
prostitution or any sexual activity for which any could be charged with a criminal
offense.

SUMMARY OF INVESTIGATION

6. On April 24, 2021, while working in an undercover capacity, I was
contacted via KiK, an instant messaging and social networking application that uses
the Internet to send messages to other KiK users, by an individual later identified as
LOREN DAVID READ. READ utilizing KiK username, “Andy Reed [xxtabdad],”
sent me the following message: “Quiet room?” On April 25, 2021, I responded to
READ, by asking what he was into. READ responded, “Love younger family seeking
mons.” I informed READ that I was a father of two daughters, who was into family
taboo. READ asked me my age, sex, and where I lived. I responded, “45m Orlando.
Daughters 9 and 11. U.” READ told me he was 63 years old and had a daughter who

was 27 years old.
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7. As the conversation continued, READ told me my notional daughters
were the perfect age and asked me if I “enjoy them now...U teaching them...Do they
need a grandpa lol.” I responded, “They are very well taught. Been active for a while.
Grandchildren love grandparents lol”. READ responded that he loved grandkids too
and hoped to meet sometime. I asked READ if he had ever been with “young” and
READ responded, “Youngest was 12...I like being a grandpa lol...What part of
Orlando u in...Bring them candy.”

8. I asked READ, “when was the last time you were with young[?]” READ
disclosed he had been with a “[nJeighbor...She 16 now she still comes over. Her mom
always working.” I asked READ if he was still active with his neighbor and he stated,
“Ocassionally but shes a teen now always with friends.” I asked READ what he was
looking for and READ responded, “Ideally a mom with young daughters or a dad that
thinks his girls need a grandpa.” I told READ, “Grandpa is always needed. Just got
to make sure grandpa is on the same page lol. What would grandpa want lol.” READ
responded, “Well grandpa is very oral 9 yr able to accept a man yet? 11 yr old should
be ready to be a woman.” I responded, “Girls love oral. 11 yo is a little girl ready.”
READ responded, “So am I.”

9. READ asked me if there were any restrictions and I informed READ
that there were rules. READ asked what the rules were, and I stated: “The rules are
no rough stuff, no bareback, and when they say stop it ends.” READ agreed to the

rules and asked if he had to wear a condom because he was “fixed.” I responded,
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“Yeh. Even though they are to young to get pregnant. Don’t want to have to explain
how they got diseasea.” READ told me he understood and asked me what kind of
candy my notional daughters like. I informed READ my notional daughters like
skittles and starburst.

10. I told READ that I was not into role playing. READ responded, “Hate
roleplay. Need to taste and feel.” I asked READ which of my notional girls he was
interested in and READ told me that both girls intrigued him. READ asked me if
both of my notional daughters were virgins. I responded, “The 9 yo is still a virgin.
11 yo is all about it.” READ responded, “Damn enthuslasm over curiosity...11yr still
flat started to bleed yet?” READ then proceeded to ask, “Tits starting to grow?
Hair?...If I have to choose I'd take both lol.”

11. READ and I discussed where and how we would meet in order for the
sexual encounter to occur. I asked READ what my daughters should expect when he
arrived. READ responded, “I’ll be kind gentle fondling licking then probably start
devoting attention to Hannah entering her...fingers up assea...might try cindy if not
toi ifht tight.” I understood READ meant that he would attempt to perform oral sex
on one child and insert his fingers into the anal cavities of both minors. I told READ
the proposed sex acts were okay if he was not too rough. READ responded, “No I’m
the gentle type.”

12. READ and I made arrangements to meet at a predetermined location in

Lake Mary, Florida, which is within the Middle District of Florida. Prior to the
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meeting, READ asked if I had any pictures of my notional daughters or was this “truly
a blind date.” READ confirmed what type of candy my notional girls wanted, and I
told READ my notional daughters were asking for ring pops or gummy worms. I told
READ that my notional daughters would be coming from dance. READ responded
that he could not wait to see them in their leotards and requested to shower with them.

13. At approximately 7:20 p.m., READ informed me he was at the
predetermined meeting location. I could not locate READ because READ had gone
to the incorrect meeting location. At approximately 7:50 p.m., READ made it to the
predetermined location. READ exited his work truck and walked over to Special
Agent (SA) Rodney Hyre who sitting in his vehicle and was posing as the father of the
two minors. SA Hyre asked READ, “Are you Dave.” He responded, “yes.” READ
walked closer to SA Hyre, handed him a bag containing candy, and stated: “Here is
candy for the girls.” SA Hyre asked READ if he was excited and READ responded
“yeah.”

Interview of LOREN DAVID READ

14. Prior to the interview, SA Hyre advised READ of his Miranda rights.
READ acknowledged his Miranda rights and agreed to speak with SA Hyre and me.
During the interview, READ stated that he had been in communication with a person
he met on KiK. READ confirmed his KiK profile name, and indicated he had
communicated with the father of the 9- and 11-year-old girls, via his smartphone,

which READ indicated was in his vehicle. READ provided consent for investigators
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to retrieve his cellular phone from his truck. READ provided the password to the
cellular phone and consented for the interviewing agents to search the phone.

15. READ acknowledged that he had engaged in conversation with the
father of the children and had stated his desire to give oral sex to the children. READ
stated he would not be able to follow through with having sex with the 9- or 11-year-
old. READ could not explain why he came to the location. READ acknowledged
that he had claimed to have had sex with his 12-year-old neighbor. READ insisted
that he had just made up those facts to pique the interest of the father of the two minors.

16. READ stated that he knew what he was doing was very wrong. READ
was unable to come up with a reason for why he would do something like this. READ
denied ever touching his daughter or his 7-year-old granddaughter.

17. During a search of READ’S person incident to arrest, SA Hyre found
three condoms.

18. The Internet and cell phones are facilities or means of interstate
commerce.

CONCLUSION

19. I believe there is probable cause that READ, using a facility and means
of interstate commerce, that is, the Internet and a cell phone, did knowingly attempt
to persuade, induce, and entice an individual who had not attained the age of 18 years
to engage in prostitution, or any sexual activity for which any person could be charged

with a criminal offense under Florida law, that is, Sexual Battery, a violation of Florida
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Statute Section 794.011; all in violation of Title 18, United States Code, Section

2422(b).

This concludes my affidavit.
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Kevin Kaufman, Special Agent
Federal Bureau of Investigation

 

Sworn to.and subscribed before me
this 2 to day of April, 2021.

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Cl
THOMAS SB. SMI

United States Magistrate Judge
